Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 1 of 30
                                                                      UNITED STATED JUDICIAL PANEL
                                                                                   on
                                                                        MULTIDISTRICT LITIGATION
                                                                                 FILED

                                                                               October 4, 2016

                                                                            JEFFERY N. LÜTHI
                                                                           CLERK OF THE PANEL


                                 RULES OF PROCEDURE
                                        OF THE
               UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                         TABLE OF CONTENTS

                             I. RULES FOR MULTIDISTRICT LITIGATION
                                       UNDER 28 U.S.C. § 1407

  Rule 1.1:      Definitions
  Rule 2.1:      Rules and Practice
  Rule 3.1:      Electronic Records and Files; Copy Fees
  Rule 3.2:      ECF Users: Filing Requirements
  Rule 3.3:      Non-ECF Users: Filing Requirements
  Rule 4.1:      Service of Pleadings
  Rule 5.1:      Corporate Disclosure Statement
  Rule 6.1:      Motion Practice
  Rule 6.2:      Motion to Transfer for Coordinated or Consolidated Pretrial Proceedings
  Rule 6.3:      Motions for Miscellaneous Relief
  Rule 7.1:      Conditional Transfer Orders (CTO) for Tag-Along Actions
  Rule 7.2:      Miscellaneous Provisions Concerning Tag-Along Actions
  Rule 8.1:      Show Cause Orders
  Rule 9.1:      Transfer of Files; Notification Requirements
  Rule 10.1:     Termination and Remand
  Rule 10.2:     Conditional Remand Orders (CRO)
  Rule 10.3      Motion to Remand
  Rule 10.4      Transfer of Files on Remand
  Rule 11.1:     Hearing Sessions and Oral Argument
  Rule 12-15:    Reserved

                      II. RULES FOR MULTICIRCUIT PETITIONS FOR REVIEW
                                  UNDER 28 U.S.C. § 2112(a)(3)

  Rule 25.1:     Definitions
  Rule 25.2:     Filing of Notices
  Rule 25.3:     Service of Notices
  Rule 25.4:     Form of Notices; Place of Filing
  Rule 25.5:     Random Selection
  Rule 25.6:     Service of Panel Consolidation Order

                                       III. CONVERSION TABLE

                                               IV. INDEX
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 2 of 30




                                  This Page Left Blank
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 3 of 30




                                    RULES OF PROCEDURE
                                             OF THE
             UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
                        (Effective, October 4, 2010, Amended July 6, 2011)
                     (Housekeeping revision, October 4, 2016. See Note p. 17)

                              I. RULES FOR MULTIDISTRICT LITIGATION

                                           UNDER 28 U.S.C. §1407

          The United States Judicial Panel on Multidistrict Litigation promulgates these Rules pursuant to its
  authority under 28 U.S.C. § 1407(f).

  RULE 1.1:      DEFINITIONS

         (a) "Panel" means the members of the United States Judicial Panel on Multidistrict Litigation
  appointed by the Chief Justice of the United States pursuant to 28 U.S.C. § 1407.

          (b) "Chair" means the Chair of the Panel appointed by the Chief Justice of the United States pursuant
  to Section 1407, or the member of the Panel properly designated to act as Chair.

         (c) "Clerk of the Panel" means the official that the Panel appoints to that position. The Clerk of the
  Panel shall perform such duties that the Panel or the Panel Executive delegates.

          (d) “Electronic Case Filing (ECF)” refers to the Panel’s automated system that receives and stores
  documents filed in electronic form. All attorneys filing pleadings with the Panel must do so using ECF. All
  pro se individuals are non-ECF users, unless the Panel orders otherwise.

          (e) “MDL” means a multidistrict litigation docket which the Panel is either considering or has created
  by transferring cases to a transferee district for coordinated or consolidated pretrial proceedings pursuant
  to Section 1407.

          (f) "Panel Executive" means the official appointed to act as the Panel's Chief Executive and Legal
  Officer. The Panel Executive may appoint, with the approval of the Panel, necessary deputies, clerical
  assistants and other employees to perform or assist in the performance of the duties of the Panel Executive.
  The Panel Executive, with the approval of the Panel, may make such delegations of authority as are
  necessary for the Panel’s efficient operation.

         (g) “Pleadings” means all papers, motions, responses, or replies of any kind filed with the Panel,
  including exhibits attached thereto, as well as all orders and notices that the Panel issues.

         (h) "Tag-along action" refers to a civil action pending in a district court which involves common
  questions of fact with either (1) actions on a pending motion to transfer to create an MDL or (2) actions
  previously transferred to an existing MDL, and which the Panel would consider transferring under Section
  1407.


                                                       -1-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 4 of 30




        (i) “Transferee district” is the federal district court to which the Panel transfers an action pursuant
to Section 1407, for inclusion in an MDL.

       (j) “Transferor district” is the federal district court where an action was pending prior to its transfer
pursuant to Section 1407, for inclusion in an MDL, and where the Panel may remand that action at or before
the conclusion of pretrial proceedings.

RULE 2.1:      RULES AND PRACTICE

        (a)     Customary Practice. The Panel’s customary practice shall govern, unless otherwise fixed by
statute or these Rules.

        (b)    Failure to Comply with Rules. When a pleading does not comply with these Rules, the Clerk
of the Panel may advise counsel of the deficiencies and set a date for full compliance. If counsel does not
fully comply within the established time, the Clerk of the Panel shall file the non-complying pleading, but
the Chair may thereafter order it stricken.

         (c)     Admission to Practice before the Panel. Every member in good standing of the Bar of any
district court of the United States is entitled to practice before the Panel, provided, however, that he or she
has established and maintains a CM/ECF account with any United States federal court. Any attorney of
record in any action transferred under Section 1407 may continue to represent his or her client in any district
court of the United States to which such action is transferred. Parties are not required to obtain local
counsel.

        (d)     Pendency of Motion or Conditional Order. The pendency of a motion, order to show cause,
conditional transfer order or conditional remand order before the Panel pursuant to 28 U.S.C. § 1407 does
not affect or suspend orders and pretrial proceedings in any pending federal district court action and does
not limit the pretrial jurisdiction of that court. An order to transfer or remand pursuant to 28 U.S.C. § 1407
shall be effective only upon its filing with the clerk of the transferee district court.

       (e)      Reassignment. If for any reason the transferee judge is unable to continue those
responsibilities, the Panel shall make the reassignment of a new transferee judge.

RULE 3.1:      ELECTRONIC RECORDS AND FILES; COPY FEES

        (a)     Electronic Record. Effective October 4, 2010, the official Panel record shall be the electronic
file maintained on the Panel’s servers. This record includes, but is not limited to, Panel pleadings,
documents filed in paper and then scanned and made part of the electronic record, and Panel orders and
notices filed. The official record also includes any documents or exhibits that may be impractical to scan.
These documents and exhibits shall be kept in the Panel offices.

        (b)    Maintaining Records. Records and files generated prior to October 4, 2010, may be (i)
maintained at the Panel offices, (ii) temporarily or permanently removed to such places at such times as the
Clerk of the Panel or the Chair shall direct, or (iii) transferred whenever appropriate to the Federal Records
Center.


                                                      -2-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 5 of 30




          (c)     Fees. The Clerk of the Panel may charge fees for duplicating records and files, as prescribed
  by the Judicial Conference of the United States.

  RULE 3.2:      ECF USERS: FILING REQUIREMENTS

         (a)     Form of Pleadings. This Rule applies to pleadings that ECF users file with the Panel.

                 (i)     Each pleading shall bear the heading "Before the United States Judicial Panel on
                         Multidistrict Litigation," the identification "MDL No.___" and the descriptive title
                         designated by the Panel. If the Panel has not yet designated a title, counsel shall use
                         an appropriate description.

                 (ii)    The final page of each pleading shall contain the name, address, telephone number,
                         fax number and email address of the attorney or party designated to receive service
                         of pleadings in the case, and the name of each party represented.

                 (iii)   Each brief submitted with a motion and any response to it shall not exceed 20 pages,
                         exclusive of exhibits. Each reply shall not exceed 10 pages and shall address
                         arguments raised in the response(s). Absent exceptional circumstances and those set
                         forth in Rule 6.1(d), the Panel will not grant motions to exceed page limits.

                 (iv)    Each pleading shall be typed in size 12 point font (for both text and footnotes),
                         double spaced (text only), in a letter size document (8 ½ x 11 inch) with sequentially
                         numbered pages.

                 (v)     Each exhibit shall be separately numbered and clearly identified.

                 (vi)    Proposed Panel orders shall not be submitted.

          (b)    Place of Filing. Counsel shall sign and verify all pleadings electronically in accordance with
  these Rules and the Panel’s Administrative Policies and Procedures for Electronic Case Filing found at
  www.jpml.uscourts.gov. A pleading filed electronically constitutes a written document for the purpose of
  these Rules and the Federal Rules of Civil Procedure and is deemed the electronically signed original
  thereof. All pleadings, except by pro se litigants, shall conform with this Rule beginning on October 4,
  2010.

                 (i)     Pleadings shall not be transmitted directly to any Panel member.

          (c)    Attorney Registration. Only attorneys identified, or to be identified, pursuant to Rule 4.1,
  shall file pleadings. Each of these attorneys must register as a Panel CM/ECF user through
  www.jpml.uscourts.gov. Registration/possession of a CM/ECF account with any United States federal court
  shall be deemed consent to receive electronic service of all Panel orders and notices as well as electronic
  service of pleadings from other parties before the Panel.

         (d)     Courtesy Copy of Specified Pleadings. Counsel shall serve the Clerk of the Panel, for
  delivery within 1 business day of filing, with a courtesy paper copy of any of the following pleadings: (i)

                                                      -3-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 6 of 30




a motion to transfer and its supporting brief; (ii) a response to a show cause order; (iii) a motion to vacate
a conditional transfer order or a conditional remand order; and (iv) any response, reply, supplemental
information or interested party response related to the pleadings listed in (i), (ii) and (iii). No courtesy copies
of any other pleadings are required. Courtesy copies of pleadings totaling 10 pages or less (including any
attachments) may be faxed to the Panel. The courtesy copy shall include all exhibits, shall be clearly marked
“Courtesy Copy-Do Not File,” shall contain the CM/ECF pleading number (if known), and shall be mailed
or delivered to:

                Clerk of the Panel
                United States Judicial Panel on Multidistrict Litigation
                Thurgood Marshall Federal Judiciary Building
                One Columbus Circle, NE, Room G-255, North Lobby
                Washington, DC 20544-0005

        (e)   Privacy Protections. The privacy protections contained in Rule 5.2 of the Federal Rules of
Civil Procedure shall apply to all Panel filings.

RULE 3.3:       NON-ECF USERS: FILING REQUIREMENTS

        (a)    Definition of Non-ECF Users. Non-ECF users are all pro se individuals, unless the Panel
orders otherwise. This Rule shall apply to all motions, responses and replies that non-ECF users file with
the Panel.

        (b)   Form of Pleadings. Unless otherwise set forth in this Rule, the provisions of Rule 3.2 shall
apply to non-ECF users.

                (i)     Each pleading shall be flat and unfolded; plainly written or typed in size 12 point font
                        (for both text and footnotes), double spaced (text only), and printed single-sided on
                        letter size (8 ½ x 11 inch) white paper with sequentially numbered pages; and
                        fastened at the top-left corner without side binding or front or back covers.

                (ii)    Each exhibit shall be separately numbered and clearly identified. Any exhibits
                        exceeding a cumulative total of 50 pages shall be bound separately.

       (c)     Place of Filing. File an original and one copy of all pleadings with the Clerk of the Panel by
mailing or delivering to:

        Clerk of the Panel
        United States Judicial Panel on Multidistrict Litigation
        Thurgood Marshall Federal Judiciary Building
        One Columbus Circle, NE, Room G-255, North Lobby
        Washington, DC 20544-0005

                (i)     Pleadings not exceeding a total of 10 pages, including exhibits, may be faxed to the
                        Panel office.


                                                       -4-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 7 of 30




                  (ii)    The Clerk of the Panel shall endorse the date for filing on all pleadings submitted for
                          filing.

  RULE 4.1:       SERVICE OF PLEADINGS

          (a)      Proof of Service. The Panel’s notice of electronic filing shall constitute service of pleadings.
  Registration/possession by counsel of a CM/ECF account with any United States federal court shall be
  deemed consent to receive electronic service of all pleadings. All pleadings shall contain a proof of service
  on all other parties in all involved actions. The proof of service shall indicate the name and manner of
  service. If a party is not represented by counsel, the proof of service shall indicate the name of the party and
  the party's last known address. The proof of service shall indicate why any person named as a party in a
  constituent complaint was not served with the Section 1407 pleading.

          (b)     Service Upon Transferor Court. The proof of service pertaining to motions for a transfer or
  remand pursuant to 28 U.S.C. § 1407 shall certify that counsel has transmitted a copy of the motion for filing
  to the clerk of each district court where an affected action is pending.

           (c)     Notice of Appearance. Within 14 days after the issuance of a (i) notice of filing of a motion
  to initiate transfer under Rule 6.2, (ii) notice of filed opposition to a CTO under Rule 7.1, (iii) a show cause
  order under Rules 8.1, (iv) notice of filed opposition to a CRO under Rule 10.2, or (v) notice of filing of a
  motion to remand under Rule 10.3, each party or designated attorney as required hereinafter shall file a
  Notice of Appearance notifying the Clerk of the Panel of the name, address and email address of the attorney
  designated to file and receive service of all pleadings. Each party shall designate only one attorney. Any
  party not represented by counsel shall be served by mailing such pleadings to the party's last known address.
  Except in extraordinary circumstances, the Panel will not grant requests for an extension of time to file the
  Notice of Appearance.

          (d)     Liaison Counsel. If the transferee district court appoints liaison counsel, this Rule shall be
  satisfied by serving each party in each affected action and all liaison counsel. Liaison counsel shall receive
  copies of all Panel orders concerning their particular litigation and shall be responsible for distribution to
  the parties for whom he or she serves as liaison counsel.

  RULE 5.1:       CORPORATE DISCLOSURE STATEMENT

          (a)      Requirements. A nongovernmental corporate party must file a disclosure statement that: (1)
  identifies any parent corporation and any publicly held corporation owning 10% or more of its stock; or (2)
  states that there is no such corporation.

          (b)     Deadline. A party shall file the corporate disclosure statement within 14 days after issuance
  of a notice of the filing of a motion to transfer or remand, an order to show cause, or a motion to vacate a
  conditional transfer order or a conditional remand order.

          (c)    Updating. Each party must update its corporate disclosure statement to reflect any change
  in the information therein (i) until the matter before the Panel is decided, and (ii) within 14 days after
  issuance of a notice of the filing of any subsequent motion to transfer or remand, order to show cause, or
  motion to vacate a conditional transfer order or a conditional remand order in that docket.

                                                        -5-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 8 of 30




RULE 6.1:      MOTION PRACTICE

        (a)     Application. This Rule governs all motions requesting Panel action generally. More specific
provisions may apply to motions to transfer (Rule 6.2), miscellaneous motions (Rule 6.3), conditional
transfer orders (Rule 7.1), show cause orders (Rule 8.1), conditional remand orders (Rule 10.2) and motions
to remand (Rule 10.3).

       (b)     Form of Motions. All motions shall briefly describe the action or relief sought and shall
include:

               (i)     a brief which concisely states the background of the litigation and movant’s factual
                       and legal contentions;

               (ii)    a numbered schedule providing
                       (A)   the complete name of each action involved, listing the full name of each party
                             included as such on the district court’s docket sheet, not shortened by the use
                             of references such as "et al." or "etc.";
                       (B)   the district court and division where each action is pending;
                       (C)   the civil action number of each action; and
                       (D)   the name of the judge assigned each action, if known;

               (iii)   a proof of service providing
                       (A)     a service list listing the full name of each party included on the district court’s
                               docket sheet and the complaint, including opt-in plaintiffs not listed on the
                               docket sheet; and
                       (B)     in actions where there are 25 or more plaintiffs listed on the docket sheet, list
                               the first named plaintiff with the reference “et al.” if all the plaintiffs are
                               represented by the same attorney(s);

               (iv)    a copy of all complaints and docket sheets for all actions listed on the Schedule; and

               (v)     exhibits, if any, identified by number or letter and a descriptive title.

       (c)     Responses and Joinders. Any other party may file a response within 21 days after filing of
a motion. Failure to respond to a motion shall be treated as that party's acquiescence to it. A joinder in a
motion shall not add any action to that motion.

         (d)    Replies. The movant may file a reply within 7 days after the lapse of the time period for
filing a response. Where a movant is replying to more than one response in opposition, the movant may file
a consolidated reply with a limit of 20 pages.

       (e)     Alteration of Time Periods. The Clerk of the Panel has the discretion to shorten or enlarge
the time periods set forth in this Rule as necessary.

       (f)    Notification of Developments. Counsel shall promptly notify the Clerk of the Panel of any
development that would partially or completely moot any Panel matter.

                                                      -6-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 9 of 30




  RULE 6.2:      MOTIONS TO TRANSFER FOR COORDINATED OR CONSOLIDATED PRETRIAL
                 PROCEEDINGS

         (a)      Initiation of Transfer. A party to an action may initiate proceedings to transfer under Section
  1407 by filing a motion in accordance with these Rules. A copy of the motion shall be filed in each district
  court where the motion affects a pending action.

           (b)    Notice of Filing of Motion to Transfer. Upon receipt of a motion, the Clerk of the Panel
  shall issue a “Notice of Filing of Motion to Transfer” to the service list recipients. The Notice shall contain
  the following: the filing date of the motion, caption, MDL docket number, briefing schedule and pertinent
  Panel policies. After a motion is filed, the Clerk of the Panel shall consider any other pleading to be a
  response unless the pleading adds an action. The Clerk of the Panel may designate such a pleading as a
  motion, and distribute a briefing schedule applicable to all or some of the parties, as appropriate.

          (c)    Notice of Appearance. Within 14 days of issuance of a “Notice of the Filing of a Motion to
  Transfer,” each party or designated attorney shall file a Notice of Appearance in accordance with Rule
  4.1(c).

         (d)     Notice of Potential Tag-along Actions. Any party or counsel in a new group of actions under
  consideration for transfer under Section 1407 shall promptly notify the Clerk of the Panel of any potential
  tag-along actions in which that party is also named or in which that counsel appears.

         (e)    Interested Party Responses. Any party or counsel in one or more potential tag-along actions
  as well as amicus curiae may file a response to a pending motion to transfer. Such a pleading shall be
  deemed an Interested Party Response.

          (f)     Amendment to a Motion. Before amending a motion to transfer, a party shall first contact
  the Clerk of the Panel to ascertain whether such amendment is feasible and permissible considering the
  Panel's hearing schedule. Any such amendment shall be entitled "Amendment to Motion for Transfer," and
  shall clearly and specifically identify and describe the nature of the amendment.

                 (i)     Where the amended motion includes new civil actions, the amending party shall file
                         a "Schedule of Additional Actions" and a revised Proof of Service.

                 (ii)    The Proof of Service shall state (A) that all new counsel have been served with a
                         copy of the amendment and all previously-filed motion papers, and (B) that all
                         counsel previously served with the original motion have been served with a copy of
                         the amendment.

                 (iii)   The Clerk of the Panel may designate the amendment with a different denomination
                         (e.g., a notice of potential tag-along action(s)) and treatment.

          (h)    Oral Argument. The Panel shall schedule oral arguments as needed and as set forth in Rule
  11.1.




                                                       -7-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 10 of 30




RULE 6.3:       MOTIONS FOR MISCELLANEOUS RELIEF

       (a)      Definition. Motions for miscellaneous relief include, but are not limited to, requests for
extensions of time, exemption from ECF requirements, page limit extensions, or expedited consideration
of any motion.

        (b)      Panel Action. The Panel, through the Clerk, may act upon any motion for miscellaneous
relief, at any time, without waiting for a response. A motion for extension of time to file a pleading or
perform an act under these Rules must state specifically the revised date sought and must be filed before the
deadline for filing the pleading or performing the act. Any party aggrieved by the Clerk of the Panel's action
may file objections for consideration. Absent exceptional circumstances, the Panel will not grant any
extensions of time to file a notice of opposition to either a conditional transfer order or a conditional remand
order.

RULE 7.1:       CONDITIONAL TRANSFER ORDERS (CTO) FOR TAG-ALONG ACTIONS

        (a)      Notice of Potential Tag-along Actions. Any party or counsel in actions previously transferred
under Section 1407 shall promptly notify the Clerk of the Panel of any potential tag-along actions in which
that party is also named or in which that counsel appears. The Panel has several options: (i) filing a CTO
under Rule 7.1, (ii) filing a show cause order under Rule 8.1, or (iii) declining to act (Rule 7.1(b)(i)).

         (b)     Initiation of CTO. Upon learning of the pendency of a potential tag-along action, the Clerk
of the Panel may enter a conditional order transferring that action to the previously designated transferee
district court for the reasons expressed in the Panel’s previous opinions and orders. The Clerk of the Panel
shall serve this order on each party to the litigation but shall not send the order to the clerk of the transferee
district court until 7 days after its entry.

                (i)     If the Clerk of the Panel determines that a potential tag-along action is not
                        appropriate for inclusion in an MDL proceeding and does not enter a CTO, an
                        involved party may move for its transfer pursuant to Rule 6.1.

        (c)    Notice of Opposition to CTO. Any party opposing the transfer shall file a notice of
opposition with the Clerk of the Panel within the 7-day period. In such event, the Clerk of the Panel shall
not transmit the transfer order to the clerk of the transferee district court, but shall notify the parties of the
briefing schedule.

         (d)    Failure to Respond. Failure to respond to a CTO shall be treated as that party’s acquiescence
to it.

       (e)    Notice of Appearance. Within 14 days after the issuance of a “Notice of Filed Opposition”
to a CTO, each opposing party or designated attorney shall file a Notice of Appearance in accordance with
Rule 4.1(c).

        (f)    Motion to Vacate CTO. Within 14 days of the filing of its notice of opposition, the party
opposing transfer shall file a motion to vacate the CTO and brief in support thereof. The Clerk of the Panel
shall set the motion for the next appropriate hearing session. Failure to file and serve a motion and brief

                                                       -8-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 11 of 30




   shall be treated as withdrawal of the opposition, and the Clerk of the Panel shall forthwith transmit the order
   to the clerk of the transferee district court.

           (g)     Notification of Developments. Parties to an action subject to a CTO shall notify the Clerk
   of the Panel if that action is no longer pending in its transferor district court.

            (h)    Effective Date of CTO. CTOs are effective when filed with the clerk of the transferee district
   court.

   RULE 7.2:       MISCELLANEOUS PROVISIONS CONCERNING TAG-ALONG ACTIONS

            (a)     Potential Tag-alongs in Transferee Court. Potential tag-along actions filed in the transferee
   district do not require Panel action. A party should request assignment of such actions to the Section 1407
   transferee judge in accordance with applicable local rules.

           (b)     Failure to Serve. Failure to serve one or more of the defendants in a potential tag-along
   action with the complaint and summons as required by Rule 4 of the Federal Rules of Civil Procedure does
   not preclude transfer of such action under Section 1407. Such failure, however, may constitute grounds for
   denying the proposed transfer where prejudice can be shown. The failure of the Clerk of the Panel to serve
   a CTO on all plaintiffs or defendants or their counsel may constitute grounds for the Clerk to reinstate the
   CTO or for the aggrieved party to seek § 1407(c) remand.

   RULE 8.1:       SHOW CAUSE ORDERS

           (a)     Entry of Show Cause Order. When transfer of multidistrict litigation is being considered on
   the initiative of the Panel pursuant to 28 U.S.C. §1407(c)(i), the Clerk of the Panel may enter an order
   directing the parties to show cause why a certain civil action or actions should not be transferred for
   coordinated or consolidated pretrial proceedings. Any party shall also promptly notify the Clerk of the Panel
   whenever they learn of any other federal district court actions which are similar to those which the show
   cause order encompasses.

           (b)    Notice of Appearance. Within 14 days of the issuance of an order to show cause, each party
   or designated attorney shall file a Notice of Appearance in accordance with Rule 4.1(c).

            (c)      Responses. Unless otherwise provided by order, any party may file a response within 21days
   of the filing of the show cause order. Failure to respond to a show cause order shall be treated as that party's
   acquiescence to the Panel action.

            (d)    Replies. Within 7 days after the lapse of the time period for filing a response, any party may
   file a reply.

          (e)    Notification of Developments. Counsel shall promptly notify the Clerk of the Panel of any
   development that would partially or completely moot any matter subject to a show cause order.




                                                         -9-
   Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 12 of 30




RULE 9.1:       TRANSFER OF FILES; NOTIFICATION REQUIREMENTS

         (a)     Notice to Transferee Court Clerk. The Clerk of the Panel, via a notice of electronic filing,
will notify the clerk of the transferee district whenever a Panel transfer order should be filed in the transferee
district court. Upon receipt of an electronically certified copy of a Panel transfer order from the clerk of the
transferee district, the clerk of the transferor district shall transmit the record of each transferred action to
the transferee district and then, unless Rule 9.1(b) applies, close the transferred action in the transferor
district.

        (b)      Retention of Claims. If the transfer order provides for the separation and simultaneous
remand of any claim, cross-claim, counterclaim, or third-party claim, the clerk of the transferor district shall
retain jurisdiction over any such claim and shall not close the action.

       (c)      Notice to Clerk of Panel. The clerk of the transferee district shall promptly provide the Clerk
of the Panel with the civil action numbers assigned to all transferred actions and the identity of liaison
counsel, if or when designated. The clerk of the transferee district shall also promptly notify the Clerk of
the Panel of any dispositive ruling that terminates a transferred action.

RULE 10.1:      TERMINATION AND REMAND

        (a)     Termination. Where the transferee district court terminates an action by valid order,
including but not limited to summary judgment, judgment of dismissal and judgment upon stipulation, the
transferee district court clerk shall transmit a copy of that order to the Clerk of the Panel. The terminated
action shall not be remanded to the transferor court and the transferee court shall retain the original files and
records unless the transferee judge or the Panel directs otherwise.

        (b)        Initiation of Remand. Typically, the transferee judge recommends remand of an action, or
a part of it, to the transferor court at any time by filing a suggestion of remand with the Panel. However, the
Panel may remand an action or any separable claim, cross-claim, counterclaim or third-party claim within
it, upon

                (i)     the transferee court’s suggestion of remand,

                (ii)    the Panel's own initiative by entry of an order to show cause, a conditional remand
                        order or other appropriate order, or

                (iii)   motion of any party.

RULE 10.2:      CONDITIONAL REMAND ORDERS (CRO)

        (a)      Entering a CRO. Upon the suggestion of the transferee judge or the Panel’s own initiative,
the Clerk of the Panel shall enter a conditional order remanding the action or actions to the transferor district
court. The Clerk of the Panel shall serve this order on each party to the litigation but shall not send the order
to the clerk of the transferee district court for 7 days from the entry thereof.




                                                      - 10 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 13 of 30




                   (i)     The Panel may, on its own initiative, also enter an order that the parties show cause
                           why a matter should not be remanded. Rule 8.1 applies to responses and replies with
                           respect to such a show cause order.

          (b)     Notice of Opposition. Any party opposing the CRO shall file a notice of opposition with the
   Clerk of the Panel within the 7-day period. In such event, the Clerk of the Panel shall not transmit the
   remand order to the clerk of the transferee district court and shall notify the parties of the briefing schedule.

            (c)    Failure to Respond. Failure to respond to a CRO shall be treated as that party's acquiescence
   to it.

          (d)    Notice of Appearance. Within 14 days after the issuance of a “Notice of Filed Opposition”
   to a CRO, each opposing party or designated attorney shall file a Notice of Appearance in accordance with
   Rule 4.1(c).

           (e)      Motion to Vacate CRO. Within 14 days of the filing of its notice of opposition, the party
   opposing remand shall file a motion to vacate the CRO and brief in support thereof. The Clerk of the Panel
   shall set the motion for the next appropriate Panel hearing session. Failure to file and serve a motion and
   brief shall be treated as a withdrawal of the opposition and the Clerk of the Panel shall forthwith transmit
   the order to the clerk of the transferee district court.

            (f)    Effective Date of CRO. CROs are not effective until filed with the clerk of the transferee
   district court.

   RULE 10.3:      MOTION TO REMAND

          (a)     Requirements of the Motion. If the Clerk of the Panel does not enter a CRO, a party may file
   a motion to remand to the transferor court pursuant to these Rules. Because the Panel is reluctant to order
   a remand absent the suggestion of the transferee judge, the motion must include:

                           (i)     An affidavit reciting whether the movant has requested a suggestion of
                                   remand and the judge’s response, whether the parties have completed
                                   common discovery and other pretrial proceedings, and whether the parties
                                   have complied with all transferee court orders.

                           (ii)    A copy of the transferee district court’s final pretrial order, if entered.

           (b)     Filing Copy of Motion. Counsel shall file a copy of the motion to remand in the affected
   transferee district court.

           (c)   Notice of Appearance. Within 14 days of the issuance of a “Notice of Filing” of a motion
   to remand, each party or designated attorney shall file a Notice of Appearance in accordance with Rule
   4.1(c).




                                                        - 11 -
   Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 14 of 30




RULE 10.4:      TRANSFER OF FILES ON REMAND

        (a)     Designating the Record. Upon receipt of an order to remand from the Clerk of the Panel, the
parties shall furnish forthwith to the transferee district clerk a stipulation or designation of the contents of
the record or part thereof to be remanded.

        (b)      Transfer of Files. Upon receipt of an order to remand from the Clerk of the Panel, the
transferee district shall transmit to the clerk of the transferor district the following concerning each remanded
action:

                (i)     a copy of the individual docket sheet for each action remanded;

                (ii)    a copy of the master docket sheet, if applicable;

                (iii)   the entire file for each action remanded, as originally received from the transferor
                        district and augmented as set out in this Rule;

                (iv)    a copy of the final pretrial order, if applicable; and

                (v)     a "record on remand" as designated by the parties in accordance with 10.4(a).

RULE 11.1:      HEARING SESSIONS AND ORAL ARGUMENT

       (a)     Schedule. The Panel shall schedule sessions for oral argument and consideration of other
matters as desirable or necessary. The Chair shall determine the time, place and agenda for each hearing
session. The Clerk of the Panel shall give appropriate notice to counsel for all parties. The Panel may
continue its consideration of any scheduled matters.

        (b)     Oral Argument Statement. Any party affected by a motion may file a separate statement
setting forth reasons why oral argument should, or need not, be heard. Such statements shall be captioned
“Reasons Why Oral Argument Should [Need Not] Be Heard” and shall be limited to 2 pages.

                (i)     The parties affected by a motion to transfer may agree to waive oral argument. The
                        Panel will take this into consideration in determining the need for oral argument.

        (c)      Hearing Session. The Panel shall not consider transfer or remand of any action pending in
a federal district court when any party timely opposes such transfer or remand without first holding a hearing
session for the presentation of oral argument. The Panel may dispense with oral argument if it determines
that:

                (i)     the dispositive issue(s) have been authoritatively decided; or

                (ii)    the facts and legal arguments are adequately presented and oral argument would not
                        significantly aid the decisional process.




                                                     - 12 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 15 of 30




   Unless otherwise ordered, the Panel shall consider all other matters, such as a motion for reconsideration,
   upon the basis of the pleadings.

           (d)    Notification of Oral Argument. The Panel shall promptly notify counsel of those matters in
   which oral argument is scheduled, as well as those matters that the Panel will consider on the pleadings.
   The Clerk of the Panel shall require counsel to file and serve notice of their intent to either make or waive
   oral argument. Failure to do so shall be deemed a waiver of oral argument. If counsel does not attend oral
   argument, the matter shall not be rescheduled and that party’s position shall be treated as submitted for
   decision on the basis of the pleadings filed.

                  (i)     Absent Panel approval and for good cause shown, only those parties to actions who
                          have filed a motion or written response to a motion or order shall be permitted to
                          present oral argument.

                  (ii)    The Panel will not receive oral testimony except upon notice, motion and an order
                          expressly providing for it.

           (e)    Duty to Confer. Counsel in an action set for oral argument shall confer separately prior to
   that argument for the purpose of organizing their arguments and selecting representatives to present all views
   without duplication. Oral argument is a means for counsel to emphasize the key points of their arguments,
   and to update the Panel on any events since the conclusion of briefing.

          (f)    Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall allot a
   maximum of 20 minutes for oral argument in each matter. The time shall be divided among those with
   varying viewpoints. Counsel for the moving party or parties shall generally be heard first.

   RULES 12-15:           [RESERVED]




                                                       - 13 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 16 of 30




                             This Page Left Blank




                                    - 14 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 17 of 30




                          II. RULES FOR MULTICIRCUIT PETITIONS FOR REVIEW
                                      UNDER 28 U.S.C. § 2112(a)(3)


   RULE 25.1:     DEFINITIONS

          The Panel promulgates these Rules pursuant to its authority under 28 U.S.C. § 2112(a)(3) to provide
   a means for the random selection of one circuit court of appeals to hear consolidated petitions for review
   of agency decisions.

          An “Agency” means an agency, board, commission or officer of the United States government, that
   has received two or more petitions for review in a circuit court of appeals to enjoin, set aside, suspend,
   modify or otherwise review or enforce an action.

   RULE 25.2:     FILING OF NOTICES

           (a)     Submitting Notice. An affected agency shall submit a notice of multicircuit petitions for
   review pursuant to 28 U.S.C. §2112(a)(3) to the Clerk of the Panel by electronic means in the manner these
   Rules require and in accordance with the Panel’s Administrative Policies and Procedures for Electronic Case
   Filing, except that the portion of Rule 3.2(d) requiring a courtesy copy is suspended in its entirety.

          (b)     Accompaniments to Notices. All notices of multicircuit petitions for review shall include:

                  (i)      a copy of each involved petition for review as the petition for review is defined in 28
                           U.S.C. § 2112(a)(2);

                  (ii)     a schedule giving

                           (A)    the date of the relevant agency order;

                           (B)    the case name of each petition for review involved;

                           (C)    the circuit court of appeals in which each petition for review is pending;

                           (D)    the appellate docket number of each petition for review;

                           (E)    the date of filing by the court of appeals of each petition for review; and

                           (F)    the date of receipt by the agency of each petition for review; and

                  (iii)    proof of service (see Rule 25.3).

           (c)     Scope of Notice. All notices of multicircuit petitions for review shall embrace exclusively
   petitions for review filed in the courts of appeals within 10 days after issuance of an agency order and
   received by the affected agency from the petitioners within that 10-day period.


                                                        - 15 -
   Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 18 of 30




       (d)    Filing at the Panel. The Clerk of the Panel shall file the notice of multicircuit petitions for
review and endorse thereon the date of filing.

        (e)     Filing with Each Circuit Clerk. The affected agency shall file copies of notices of multicircuit
petitions for review with the clerk of each circuit court of appeals in which a petition for review is pending.

RULE 25.3:      SERVICE OF NOTICES

        (a)      Proof of Service. Notices of multicircuit petitions for review shall include proof of service
on all other parties in the petitions for review included in the notice. Rule 25 of the Federal Rules of
Appellate Procedure governs service and proof of service. The proof of service shall state the name, address
and email address of each person served and shall indicate the party represented by each and the manner in
which service was accomplished on each party. If a party is not represented by counsel, the proof of service
shall indicate the name of the party and his or her last known address. The affected party shall submit proof
of service for filing with the Clerk of the Panel and shall send copies thereof to each person included within
the proof of service.

        (b)     Service on Clerk of Circuit. The proof of service pertaining to notices of multicircuit
petitions for review shall certify the affected party has mailed or delivered copies of the notices to the clerk
of each circuit court of appeals in which a petition for review is pending that is included in the notice. The
Clerk shall file the notice with the circuit court.

RULE 25.4:      FORM OF NOTICES; PLACE OF FILING

        (a)     Unless otherwise provided here, Rule 3.2 governs the form of a notice of multicircuit
petitions for review. Each notice shall bear the heading Notice to the United States Judicial Panel on
Multidistrict Litigation of Multicircuit Petitions for Review,” followed by a brief caption identifying the
involved agency, the relevant agency order, and the date of the order.

        (b)     Rule 3.2(b) and (c) govern the manner of filing a notice of multicircuit petitions for review.

RULE 25.5:      RANDOM SELECTION

        (a)     Selection Process. Upon filing a notice of multicircuit petitions for review, the Clerk of the
Panel shall randomly select a circuit court of appeals from a drum containing an entry for each circuit
wherein a constituent petition for review is pending. Multiple petitions for review pending in a single circuit
shall be allotted only a single entry in the drum. A designated deputy other than the random selector shall
witness the random selection.

       Thereafter, an order on behalf of the Panel shall be issued, signed by the random selector and the
witness,

                (i)     consolidating the petitions for review in the court of appeals for the circuit that was
                        randomly selected; and


                                                     - 16 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 19 of 30




                  (ii)    designating that circuit as the one in which the record is to be filed pursuant to Rules
                          16 and 17 of the Federal Rules of Appellate Procedure.

          (b)     Effective Date. A consolidation of petitions for review shall be effective when the Clerk of
   the Panel enters the consolidation order.

   RULE 25.6:     SERVICE OF PANEL CONSOLIDATION ORDER

           (a)     The Clerk of the Panel shall serve the Panel's consolidation order on the affected agency
   through the individual or individuals, as identified in Rule 25.2(a), who submitted the notice of multicircuit
   petitions for review on behalf of the agency.

          (b)     That individual or individuals, or anyone else designated by the agency, shall promptly serve
   the Panel's consolidation order on all other parties in all petitions for review included in the Panel's
   consolidation order, and shall promptly submit a proof of that service to the Clerk of the Panel. Rule 25.3
   governs service.

           (c)    The Clerk of the Panel shall serve the Panel's consolidation order on the clerks of all circuit
   courts of appeals that were among the candidates for the Panel's random selection.

   --------

   NOTE: October 4, 2016, non-substantive housekeeping revision to Rule 3.2(d). Deleted "and (v) a
   corporate disclosure statement", thus eliminating the need to provide a courtesy paper copy of the corporate
   disclosure statement.




                                                       - 17 -
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 20 of 30




                             This Page Left Blank
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 21 of 30




                                III. CONVERSION TABLE - October 2010


   New to Old:


   New Rule / Previous Rule                      New Rule / Previous Rule
        1.1             1.1                           9.1             1.6
        2.1             1.2, 1.3, 1.4, 1.5            10.1            7.6
        3.1             5.1                           10.2            7.6
        3.2             5.1.1, 5.1.2, 7.1             10.3            7.6
        3.3             5.1.1, 5.1.2, 7.1             10.4            1.6
        4.1             5.2                           11.1            16.1
        5.1             5.3                           25.1            25.1
        6.1             7.2                           25.2            25.1, 25.2
        6.2             7.2                           25.3            25.3
        6.3             6.2                           25.4            25.1, 25.4
        7.1             7.4                           25.5            17.1
        7.2             7.5                           25.6            25.5
        8.1             7.3


   Old to New:


   Previous Rule / New Rule                      Previous Rule / New Rule

          1.1            1.1                            7.1           3.2, 3.3
          1.2            2.1                            7.2           6.1
          1.3            2.1                            7.3           8.1
          1.4            2.1                            7.4           7.1
          1.5            2.1                            7.5           7.2
          1.6            10.4                           7.6           10.1
          5.1            3.1                            16.1          11.1
          5.1.1          3.2, 3.3                       17.1          25.5
          5.1.2          3.2, 3.3                       25.1          25.1, 25.2, 25.4
          5.1.3          –                              25.2          25.2
          5.2            4.1                            25.3          25.3
          5.3            5.1                            25.4          25.4
          6.2            6.3                            25.5          25.6
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 22 of 30




                             This Page Left Blank
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 23 of 30




                                                                        IV. INDEX

   Abbreviations:
         CRO = Conditional Remand Order
         CTO = Conditional Transfer Order
         ECF = Electronic Case Filing
         MDL = Multidistrict Litigation
         MCP = Muiticircuit Petition

   TOPIC                                                                                                                                           RULE(S)

   Acquiescence, Failure to Respond Deemed, .. . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c), 7.1(d), 8.1(c), 10.2(c)
   Admission to Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(c)
   Agency. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.1
   Alteration of Time Periods.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(e)
   Amendment to a Motion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(f)
   Application of Panel Rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(a)
   Attorneys:
           Admission to Practice Before the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(c)
           CM/ECF, Registration as User. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(a)
           Consent to Receive Service. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(c), 4.1(a)
           Courtesy Copies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d), 25.2(a)
           Duty to Confer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(e)
           Duty to Notify. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(f), 6.2(d), 7.1(a) and (g), 8.1(a) and (e)
           ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(d), 3.2
           Notice of Appearance . . . . . . . . . . . . . . . . . . . . . . . . 4.1(c), 6.2(c), 7.1(e), 8.1(b), 10.2(d), 10.3(c)
           Privacy Protections. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(e)
   Briefing Schedule:
           CTO .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d), 7.1(c)-(f)
           CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d), 10.2(b)-(e)
           Motions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d)
   Briefs:
           Courtesy Copy .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
           Failure to File . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f), 10.2(e)
           Form of Pleadings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a), 6.1(b)(i)
           Page Limits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(iii)
           Time Limits .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f), 10.2(e)
   Chair of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(b), 2.1(b), 3.1(b), 11.1(a)
   Clerk of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(c)
           Alteration of Time Periods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(e)
           Construction of Pleadings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(b), 6.2(f)(iii)
           Inclusion, if Action not Appropriate for . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)(i)
           Miscellaneous Relief, Authority to Act on Motions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
           Remedy if Aggrieved by Clerk’s Action .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
   CM/ECF.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(d), 3.2(c), 4.1(a), 25.2(a)


                                                                                -i-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 24 of 30




Conditional Remand Orders (CRO).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2 et seq.
        Effective Date . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(f)
        Entering a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(a)
        Failure to Respond. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(c)
        Motion to Vacate and Brief in Support. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
        Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(d)
        Notice of Opposition .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(b)
Conditional Transfer Orders (CTO).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1 et seq.
        Effective Date . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(h)
        Failure to Respond. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(d)
        Initiation of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)
        Motion to Vacate and Brief in Support .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)
        Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(e)
        Notice of Opposition .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(c)
        Notice of Potential Tag-along Actions.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(a)
        Notification of Developments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(g)
Consent to Receive Service. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(c), 4.1(a)
Consolidation Order (MCP).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5(a)(i) and (ii), 25.6
Copies, Courtesy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
Corporate Disclosure Statement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d), 5.1 et seq.
        Deadline. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.1(b)
        Requirements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.1(a)
        Updating.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.1(c)
Courtesy Copies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
Customary Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(a)
Definitions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1, 3.3(a), 6.3(a), 25.1
        Agency. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.1
        Chair of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(b)
        Clerk of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(c)
        Conditional Remand Orders (CRO).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(a)
        Conditional Transfer Orders (CTO).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)
        Electronic Case Filing (ECF).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(d)
        Interested Party Response. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(e)
        MDL.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(e)
        Miscellaneous Relief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(a)
        Multicircuit Petition for Review. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.1
        Non-ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(a)
        Panel Executive. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(f)
        Pleadings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(g)
        Tag-along Action. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(h)
        Transferee District. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(i)
        Transferor District. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(j)
Designating the Record on Remand.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(a)
Duty to Confer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(e)
Duty to Notify. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(f), 6.2(d), 7.1(a) and (g), 8.1(a) and (e)


                                                                          -ii-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 25 of 30




   ECF Users: Filing Requirements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2 et seq.
           Attorney Registration. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(c)
           Courtesy Copies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
           Form of Pleadings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)
           Place of Filing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(b)
           Privacy Protections. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(e)
   Effective Date. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(d)
           of CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(f)
           of CTO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(h)
           of MCP Consolidation Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5(b)
           of Transfer Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(d); see also 28 U.S.C. § 1407(c)(ii)
   Electronic Case Filing (ECF).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(d), 3.2, 25.2(a)
   Electronic Records and Files. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1 et seq.
   Entering a CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(a)
   Entering a CTO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)
   Entry of Show Cause Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(a)
   Exhibits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(v). 3.3(b)(ii), 6.1(b)(v), 25.2(b)(i)
   Extensions of Time. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
   Facsimile Filings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d), 3.3(c)(i)
   Failure to Comply with Rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(b)
   Failure to File:
           Motion to Vacate CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
           Motion to Vacate CTO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)
   Failure to Respond:
           to CRO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(c)
           to CTO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(d)
           to Motion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
           to Show Cause Order . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(c)
   Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1(c)
   Filing of Notices at the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2 et seq.
   Filing at the Panel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(d)
   Filing Requirements.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2, 3.3, 25.2
           ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)
           by Fax.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d), 3.3(c)(i)
           Non-ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(b)
           MCP Notice . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2
   Form of Motions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(b)
   Form of Notices; Place of Filing .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.4 et seq.
   Form of Pleadings:
           ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)
           Non-ECF Users. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(b)
   Hearing, Matters Set for.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(h), 7.1(f), 10.2(e), 11.1
   Hearing Sessions and Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1 et seq
           Duty to Confer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(e)


                                                                               -iii-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 26 of 30




         Hearing Session. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(c)
         Notification of Oral Argument.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(d)
         Oral Argument Statement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(b)
         Schedule.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(a)
         Time Limit for Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(f)
Inclusion, if Action not Appropriate for . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)(i)
Initiation of CTO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)
Initiation of Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b)
Initiation of Transfer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(a)
Interested Party Response. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d), 6.2(e)
Joinder. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
Judge, Reassignment of Transferee. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(e)
Liaison Counsel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(d), 9.1(c)
Maintaining Records. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1(b)
MDL.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(e)
Miscellaneous Provisions Concerning Tag-along Actions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2 et seq.
         Failure to Serve. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(b)
         Potential Tag-alongs in Transferee Court. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(a)
Miscellaneous Relief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3 et seq.
         Authority of the Clerk to Act . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
         Definition . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(a)
Motion for Miscellaneous Relief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3 et seq.
         Authority of the Clerk to Act . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
         Remedy if Aggrieved by Clerk’s Action .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
Motion Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1 et seq.
         Alteration of Time Periods.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(e)
         Application of Rule. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(a)
         Form of Motions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(b)
         Miscellaneous Relief. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3
         Notification of Developments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(f)
         Page Limits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(iii)
         Responses and Joinders. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
         Replies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(d)
Motion to Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.3 et seq.
         Initiation of.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b)(iii), 10.3(a)
         Filing Copy of Motion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.3(b)
         Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.3(c)
         Requirements of Motion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.3(a)
Motion to Transfer for Coordinated or Consolidated Pretrial Proceedings. . . . . . . . . . . . . . . . . 6.2 et seq.
         Amendment of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(f)
         Initiation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(a)
         Interested Party Response. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(e)
         Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(c)
         Notice of Filing of Motion to Transfer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(b)
         Notice of Potential Tag-along Action. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(d)


                                                                            -iv-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 27 of 30




          Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(h)
          Tag-along Action. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)(i)
   Motion to Transfer Tag-along Action. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)(i)
   Motion to Vacate CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
          Failure to File . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
          Time Limits .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
   Motion to Vacate CTO.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)
          Failure to File.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)
          Time Limits .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)
   Multicircuit Petition for Review. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25 et seq.
          Definitions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.1
          Accompaniments to Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(b)
          Effective Date. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5(b)
          Filing at the Panel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(d)
          Filing of Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2
          Form of Notice.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.4
          Panel Consolidation Order . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5, 25.6
          Proof of Service . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.3(a)
          Random Selection. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5
          Scope of Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(c)
          Selection Process. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5(a)
          Service on Clerk of Circuit Court. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.3(b), 25.6(c)
          Service of Panel Consolidation Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.6
          Submitting Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(a)
          Time Limits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(c)
   Non-ECF Users; Filing requirements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3 et seq.
          Definition of, .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(a)
          Form of Pleadings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(b)
          Place of Filing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.3(c)
   Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(c), 6.2(c), 7.1(e), 8.1(b), 10.3(d)
   Notice of Opposition:
          to CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(c)
          to CTO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(b)
   Notice of Potential Tag-along Actions.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(d), 7.1(a)
   Notice to Transferee Court Clerk.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(a)
   Notification of Developments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(f), 7.1(g), 8.1(e)
   Notification of Oral Argument.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(d)
   Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(h) and 11.1 et seq.
          Dispensing with. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(c)
          Duty to Confer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(e)
          Hearing Session. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(c)
          Notification of Oral Argument.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(d)
          Oral Argument Statement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(b)
          Schedule.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(a)
          Time Limit for Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(f)


                                                                            -v-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 28 of 30




Page Limits:
        Motion to Extend. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(iii), 6.3
        for Brief, Response, and Reply . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(iii), 6.1(d)
Panel Action.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
        Not Required. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(a)
Panel Executive. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(f)
Pendency of Motion or Conditional Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(d)
Place of Filing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(b), 3.3(c)
Pleadings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(g), 3.2(a), 3.3(b), 4.1
Privacy Protections. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(e)
Proof of Service:
        Amendment to Motion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(f)(i) and (ii)
        on Liaison Counsel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(d)
        Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(c)
        MCP Notice, Service of . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(b)(iii) and 25.3
        Pleadings, Service of .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(a)
Pro se .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(d), 3.3
Random Selection. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5 et seq.
Reassignment of Transferee Judge. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(e)
Records:
        Electronic Records. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1(a)
        Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1(c)
        Maintaining Records. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.1(b)
Remand:
        Conditional Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2
        Initiation of.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b)
        Motion to Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.3 et seq.
        Transfer of Files on. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(b)
Reply:
        Courtesy Copy .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
        Page Limits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(iii), 6.1(d)
        Time Limits .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(d), 8.1(d)
Response:
        Courtesy Copy .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(d)
        Failure to Respond . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c), 7.1(d), 8.1(c), 10.2(c)
        Joinder .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
        Page Limits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(a)(iii)
        Time Limits .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c), 8.1(c)
Retention of Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(b)
Rules and Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1 et seq.
        Admission to Practice Before the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(c)
        Customary Practice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(a)
        Failure to Comply with. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(b)
        Pendency of Motion or Conditional Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(d)
        Reassignment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(e)


                                                                           -vi-
Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 29 of 30




   Schedule:
           Briefing, CTO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d), 7.1(c)-(f)
           Briefing, CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d), 10.2(b)-(e)
           Briefing, Motions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)-(d)
           for Panel Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(a)
   Schedule of Actions:
           for MDL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(b)(ii)
           for MCP. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(b)(ii)
   Scope of Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(c)
   Selection Process. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.5(a)
   Service of Notices. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.3 et seq.
   Service of Panel Consolidation Order (MCP). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.6 et seq.
   Service of Pleadings.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1 et seq.
           Consent to Receive . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.2(c), 4.1(a)
           Failure to Serve. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(b)
           Liaison Counsel, Service on.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(d)
           Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(c)
           Panel Consolidation Order, Service of.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.6
           Proof of Service. . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(a ), 6.1(b)(iii), 6.2(f)(ii), 25.2(b)(iii), 25.3
           Transferor Court, Service on. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.1(b)
   Show Cause Orders. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1 et seq.
           Entry of Show Cause Order. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(a)
           Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(b)
           Notification of Developments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(e)
           Responses.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(c)
           Replies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.1(d)
   Stipulation of the Record on Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(a)
   Submitting Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(a)
   Suggestion of Remand . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b), 10.2(a), 10.3(a)
   Tag-along Actions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1 et seq., 7.2 et seq.
           Failure to Serve. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(b)
           Miscellaneous Provisions.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2 et seq.
           Motion to Transfer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(b)(i)
           Potential, in Transferee Court. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(a)
   Termination. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(a)
   Termination and Remand.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1 et seq.
           Initiation of Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b)
           Termination of Action in Transferee Court. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(a)
   Time:
           Clerk’s Discretion to Alter Time Periods. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(e)
           Extension of, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.3(b)
           Joinders, Responses and.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
           Notice of Opposition. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(c), 10.2(b)
           Motion to Vacate and Supporting Brief.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f), 10.2(e)
           Multicircuit Petition for Review. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25.2(c)


                                                                            -vii-
    Case 1:21-md-02989-CMA Document 2 Entered on FLSD Docket 04/01/2021 Page 30 of 30




       Oral Argument, Time Limits for. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11.1(f)
       Response. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c), 6.2(e), 8.1(c), 10.2(a)(i)
       Responses and Joinders. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(c)
       Reply. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.1(d), 8.1(d), 10.2(a)(i)
Transfer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2 et seq.
       Initiation of.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(a)
       Amendment of Motion.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(f)
       Conditional Transfer. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1 et seq.
       Interested Party Response. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(e)
       Notice of Appearance.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(c)
       Notice of Potential Tag-along. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(d)
       Oral Argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.2(h)
Transfer of Files; Notification Requirements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1 et seq.
       Notice to Clerk of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(c)
       Notice to Transferee Court Clerk.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(a)
       Retention of Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(b)
Transfer of Files on Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4 et seq.
       Designating the Record. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(a)
       Transfer of Files, to include . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(b)
Transferee District:
       Definition. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(i)
       Notice to Clerk of the Panel.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(c)
       Authority to act during Pendency of Motion or Conditional Order.. . . . . . . . . . . . . . . . . . . 2.1(d)
       Potential Tag-alongs in Transferee Court. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.2(a)
       Reassignment of Transferee Judge. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.1(e)
       Suggestion of Remand . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.1(b)
       Transfer of Files on Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(b)
Transferor District:
       Definition. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.1(j)
       Authority to act during Pendency of Motion or Conditional Order.. . . . . . . . . . . . . . . . . . . 2.1(d)
       Retention of Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.1(b)
       Transfer of Files on Remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.4(b)
Vacate, Motion to, CRO. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.2(e)
Vacate, Motion to, CTO.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.1(f)


END




                                                                          -viii-
